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                                                                          JAMEA N. HATTEN, Clerk
                                                                          By: lj (Vj ~ eputy Clerk
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA


IN RE: COURT OPERA TIO NS UNDER
THE EXIGENT CIRCUMSTANCES                                    GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                                Eighth Amendment
CORONA VIRUS

                                        ORDER

      General Order 20-01 , dated March 16, 2020, as amended by orders dated March 30,

2020; April 30, 2020; May 26, 2020 ; July 1, 2020; July 10, 2020; August 3, 2020; and

September 1, 2020; addresses Court operations for the United States District Court for the

Northern District of Georgia under the exigent circumstances created by the Coronavirus

Pandemic and the spread ofCOVID-19. The Seventh Amendment to General Order 20-01 ,

entered September 1, 2020, extended the time periods specified in the Order through and

including November 1, 2020.

      Data from the Georgia Department of Public Health reflects that the average number

of confirmed new COVID-19 cases in the State of Georgia remains significantly in excess

of 1,000 cases per day as do the fourteen and seven-day averages for daily confirmed cases

within the State. These numbers far exceed those that existed at the time the Court entered

General Order 20-01 and are among the highest nationally. Georgia now ranks fourth in

the United States in total cases behind only California, Florida, and Texas. The four

counties within Georgia with the most confirmed COVID-19 cases: Fulton, Gwinnett,

Cobb, and DeKalb, are all within the Northern District. Together these counties currently
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account for almost thirty percent of the cases within the State. While declining from the

extreme highs experienced in July, the percentage of those tested for COVID-19 who test

positive still exceeds eight percent, again among the highest positivity rates nationally. As

reflected in the data, the prevalence of COVID-19 within the District is far greater than it

was on March 16, 2020, when the Court originally entered General Order 20-01.

       The total number of COVID-19 deaths in Georgia and the Northern District

continues to rise, and no vaccine or cure is yet available to the general public. There has

been no change to the President' s declaration of a national emergency under the National

Emergencies Act (50 U.S.C. § 1601 et seq.) due to COVID-19 or to the findings of the

Judicial Conference of the United States that emergency conditions due to this national

emergency have materially affected and will materially affect the functioning of the federal

courts generally. Specifically, within the Northern District, emergency conditions have

prevented defense counsel from meeting with their in-custody clients and have severely

limited communications with those clients in general. Capabilities provided by technology ,

while helpful, are inadequate to offset the impediments currently confronted by counsel in

this District. Other aspects of case preparation have been similarly impacted. As a result of

Georgia' s level of COVID-19 infections and test positivity, witness travel has been

problematic due to quarantine regulations in effect in many states that apply to persons

traveling to and from Georgia. These circumstances and others have severely impeded if

not prevented counsels ' ability to prepare for trial.



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       To date the Court has suspended jury trials in the hopes that COVID-19 could be

contained, and its threat eliminated. The continued spread of COVID-19 within the United

States and Georgia after months of intense preventative measures, however, makes clear

that the resumption of jury trials cannot await the complete demise of this disease. At the

same time, the Court will not reinitiate jury trials while it deems the public health and safety

and that of those appearing before the Court cannot be adequately protected. Based on the

above, it is the conclusion of the Court that a further extension of the suspension of jury

trials is required to allow conditions within the District to sufficiently improve so that

counsel can adequately prepare for trial and the health and safety of the public, those

appearing before the Court, and the Court itself, can be adequately safeguarded. The

extension of the suspension of jury trials also will facilitate the further coordination of

health and safety procedures that will be required when jury trials resume, which the Court

plans to occur in January 2021.

       Therefore,

       IT IS HEREBY ORDERED that General Order 20-01 , as amended, is further

amended to extend the time periods specified therein through and including the date of

January 3, 2021.

       IT IS FURTHER ORDERED that while there will be no civil or criminal jury

trials in any division of the Northern District of Georgia until after January 3, 2021 , grand

jurors may continue to be summoned and grand jury proceedings may continue to be held;



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and summonses may be issued to prospective jurors for civil and criminal jury trials

scheduled to begin after January 3, 2021.

       IT IS FURTHER ORDERED that the time period of any continuance entered as

a result of this Order (whether that continuance causes a pre-indictment delay or a pre-trial

delay) shall be excluded under the Speedy Trial Act, 18 U.S.C. § 316l(h)(7)(A), as the

Court finds that the ends of justice served by taking that action outweigh the interests of

the parties and the public in a speedy trial. Absent further order of the Court or any

individual judge, the period of exclusion shall be from March 23 , 2020, through and

including January 3, 2021. The Court may extend the period of exclusion as circumstances

may warrant. This Order and period of exclusion are incorporated by reference as a specific

finding under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the

Speedy Trial Act applies. See Zedner v. United States, 547 U.S. 489, 506-07 (2006). The

periods of exclusion in the Court' s prior orders on this subject, General Order 20-01 and

its subsequent amendments, are likewise incorporated by reference as a specific finding

under 18 U.S.C. § 3161 (h)(7)(A) in the record of each pending case where the Speedy Trial

Act applies.



       SO ORDERED this -2!L day of September 2020.



                                    THOMAS W. THRASH, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE


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